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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America ) .
vy. ) Case: 1:23-mj-00267
Paul Thomas Brinson assigned re Spaanyaya, Moxila A.
DOB: XXXXXX y OSsign. ae

) Description: Complaint W/ Arrest Warrant
)

Defendant(s)

CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of in the
in the District of Columbia __ , the defendant(s) violated:
Code Section Offense Description

18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
Without Lawful Authority,

18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in the Capitol Grounds or Buildings,

40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.

This criminal complaint is based on these facts:

See attached statement of facts.

WW Continued on the attached sheet.

Complainant’s signature

= name a a

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone.
_ Mu pad

Date: 10/05/2023

Judge’s signature

City and state: Washington, D.C. Moxila A. Upadhyaya, U.S. Magistrate Judge

Printed name and title
